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   James River Coal Company, et al.
   Chapter 11 Case No. 14-31848 (KRH)

                                        RETENTION QUESTIONNAIRE

   TO BE COMPLETED BY PROFESSIONALS EMPLOYED BY JAMES RIVER COAL COMPANY, et al.
   (the “Debtors”)

   DO NOT FILE THIS QUESTIONNAIRE WITH THE COURT.
   RETURN IT FOR FILING BY THE DEBTORS TO:

           Davis Polk & Wardwell LLP
           450 Lexington Avenue
           New York, New York 10017
           Attn: Marshall S. Huebner and Brian M. Resnick

   All questions must be answered. Please use “none,” “not applicable,” or “N/A,” as appropriate. If more
   space is needed, please complete on a separate page and attach.

                    1.       Name and address of firm:

                             Mishcon de Reya Solicitors

                             Summit House, 12 Red Lion Square,

                             London

                             WC1R 4QD

                             Date of retention: 01 October 2014


                    2.       Brief description of services to be provided:

                             General commercial litigation advice relating to non-payment of invoices.


                    3.       Arrangements for compensation (hourly, contingent, etc.):

                             Hourly

                             (a)   Range of hourly rates (if applicable): £600 - £180

                             (b)   Estimated average monthly compensation based on prepetition retention (if
                                   firm was employed prepetition): N/A

                    4.       Prepetition claims against any of the Debtors held by the firm:

                            Amount of claim: to the best of my knowledge and belief this is not applicable

                             Date claim arose: N/A

                             Source of claim: N/A
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              5.     Prepetition claims against any of the Debtors held individually by any of
                     the firm’s [attorneys/employees]:

                     Name: to the best of my knowledge and belief this is not applicable

                     Status: N/A

                     Amount of claim: $ N/A

                     Date claim arose: N/A

                     Source of claim: N/A


              6.     Stock of any of the Debtors currently held by the firm:

                     Kind of shares: to the best of my knowledge and belief this is not applicable

                     No. of shares: N/A


              7.     Stock of any of the Debtors currently held individually by any of the firm’s
                     [attorneys/employees]:

                     Name: to the best of my knowledge and belief this is not applicable


                     Status: N/A


                     Kind of shares: N/A


                     No. of shares: N/A


              8.     Disclose the nature and provide a brief description of any interest adverse to the
                     Debtors or to their estates for the matters on which the firm is to be employed:

                     to the best of my knowledge and belief this is not applicable

                     Name of individual completing this form:

                     Gary Miller
